In The Matter Of:
Fayetteville Public Library, et al v.

Crawford County, Arkansas, et al

Eva Doyce White
March 26, 2024
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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS
FAYETTEVILLE DIVISION

FAYETTEVILLE PUBLIC LIBRARY, a political
subdivision in the City of Fayetteville,

State of Arkansas; EUREKA SPRINGS CARNEGIE

PUBLIC LIBRARY; CENTRAL ARKANSAS LIBRARY

SYSTEM; NATE COULTER; OLIVIA FARRELL;

HAYDEN KIRBY;MIEL PARTAIN, in her own capacity

and as parent and next friend of MADELINE PARTAIN;
LETA CAPLINGER; ADAM WEBB;

ARKANSAS LIBRARY ASSOCIATION; ADVOCATES FOR

ALL ARKANSAS LIBRARIES; PEARL'S BOOKS, LLC;
WORDSWORTH COMMUNITY BOOKSTORE, LLC, d/b/a
WORDSWORTH BOOKS; AMERICAN BOOKSELLERS ASSOCIATION;
ASSOCIATION OF AMERICAN PUBLISHERS, INC.; AUTHORS
GUILD, INC.; COMIC BOOK LEGAL DEFENSE FUND

and FREEDOM TO READ FOUNDATION, PLAINTIFFS

vs. NO. 5:23-CV-05086-TLB

CRAWFORD COUNTY, ARKANSAS; CHRIS KEITH, in his
official capacity as Crawford County Judge;

TODD MURRAY; SONIA FONTICIELLA; DEVON HOLDER;

MATT DURRETT; JEFF PHILLIPS; WILL JONES; TERESA
HOWELL; BEN HALE; CONNIE MITCHELL; DAN TURNER;

JANA BRADFORD; FRANK SPAIN; TIM BLAIR; KYLE HUNTER;
DANIEL SHUE; JEFF ROGERS; DAVID ETHREDGE; TOM TATUM,
II; DREW SMITH; REBECCA REED MCCOY; MICHELLE C.
LAWRENCE; DEBRA BUSCHMAN; TONY ROGERS; NATHAN SMITH;
CAROL CREWS; KEVIN HOLMES; CHRIS WALTON; and CHUCK
GRAHAM, each and in his or her official capacity as a
prosecuting attorney for the State of Arkansas, DEFENDANTS

ORAL DEPOSITION
OF

EVA DOYCE WHITE

****%* THE ABOVE-STYLED MATTER was reported by Michelle R.
Satterfield, CCR, LS Certificate No. 570, at Crawford
County District Court, located at 301 Mt. Vista Boulevard,
Van Buren, Arkansas, commencing on the 26th day of March
2024, at 9:20 a.m. *¥*#¥**

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Director, did the Crawford County Library System ever --
was it ever a plaintiff in a lawsuit?

A No.

Q Are you aware if you had the authority to initiate
that sort of lawsuit?

A I don't think it's mentioned.

Q And when you say it's not mentioned, it's not
mentioned in the handbook?

A In the interlocal agreement.

Q Okay. And I'm just making sure that we're on the
same. As far as you're aware, the Crawford County Library
System does not have authority to initiate a lawsuit?

A I don't know.

Q I want to just make sure I understand the reporting
structure of the library system. Could you walk me
through that, just starting at the bottom of the staff and
then who they report to and then all the way up the chain?
A The staff is under the Crawford County Library

Director, I'm under the Board.

Q And does the Board report to anyone?
A No.
Q Other than I guess that you did mention earlier -- is

it the county judge who appoints members to the board?
A They have -- they have to approve our budget.

Q Okay. They, being the Quorum Court?

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A Yes.
Q Okay. So you would agree that the Crawford County
Library System is part of the government structure?
A It is a county department, I guess you would call us.
Q Okay. Just making sure we're on the same page there.
A We might not be recognized as that, but, yes.
Q What do you mean by you might not be recognized as
that?
A Well, they only recognize us when it is something

that they want, not us.
Q Okay. Understood. So that is the end of the first
category, so I'm going to move on to a couple of questions
about the collection of books generally and materials.
Earlier you mentioned, when Mr. Adams was going
through Section 5 on Page 7, "Each county or municipal
library shall have a written policy to establish
guidelines for the selection, relocation and retention of
physical materials that are available to the public."
Did I understand you to say that Crawford County
Library System has such policies?
A Yes.
Q Okay. And what are those policies based on? And
specifically I'm talking about selection, because there's
three here. So what is the basis for the policy of

selection?

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That question probably doesn't make a lot of sense,
so let me just rewind and start over here.

What is the selection policy for the Crawford County

Library?
A It's rather lengthy, so I can't tell you.
Q Fair enough. Does it identify specific genres of

books that are allowed, versus not allowed?
A No.
Q Now, if you turn one page over to Page 8, and this is
going to be what's starting on Line 10. It's talking
about the library committee that is eventually reviewing a
challenged material. It says: "The committee established
under subdivision (c) (6) (A) of this section shall
determine if the material being challenged meets the
criteria of selection."

Are you aware of any material, in the Crawford County
Library System, that does not meet the criteria of

selection that Crawford County Library System has adopted?

A No.

Q Okay. That is the only question I wanted to ask you
about Section 5. I want to quickly ask a question about
Section 1. This is the criminal provision.

Specifically, if you look at Page 2, starting on Line
11, this is partially describing the items that are not

allowed to be furnished to minors. "Item" means a

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MS. BROWNSTEIN: I'm going to object to the
form. It's a very confusing question you're
asking. I'm confused.

A I have not read all the books in this library. I
have no idea what's there, and there could be, but we try
to go by the community's view of what our library should
be. That's what librarians do and, therefore, we try to
provide what our public wants.

Q Okay. And I won't ask about any more specific books,
because I know y'all have a huge collection and I wouldn't
expect you to know every book, especially just off the top
of your head.

In Exhibit 7, it's going to be the third page under
Sections 2 and 3, Ms. Chilcoat says: "I will eat several
hats if anyone finds an item in one of their libraries
that has been judicially found by a court to be obscene."

Do you have any reason to disagree with that about
the Crawford County Library System?

A Where is that?

Q So it's going to be in the middle of Sections 2 and
3, that heading.

A Read it again.

Q Yes, ma'am. "So I will eat several hats if anyone
finds an item in one of their libraries that has been

judicially found by a court to be obscene."

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Do you have any reason to disagree with that?
A No, I do not.
Q Okay. And this will be the last question on this
topic, and it's a step back. So with the policy for
selection, is there any other limit on -- well, let me
establish this first.

Is it the executive director who makes those
purchases for new books coming into the library?
A We have several people that do that.
Q Okay. Is there any other limits on what books may be

brought into the library, other than that policy?

A No.

Q So it's at the discretion of the people making the
decision?

A Right.

Q The last one I want to come to, I only have two

questions here and I'm not sure it will extend further
than this, but hopefully it's just two. I'm going to make
it just one, actually.

Sorry, I think out loud, so I apologize for that.

MS. BROWNSTEIN: No kidding.

BY MR. WATSON:
Q Earlier with Mr. Adams you were detailing a number of
problems that -- I think that's the word you used;

problems or issues. You mentioned the ADA grant and that

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issue, the competing factions is, I believe, a term that
you've used, and morale in the library.

I think what you said is that all of those issues are
not really related to Act 372. Did I understand you

correctly when you said that?

A Yes.

Q Thank you. That's all I've got. I appreciate you.
EXAMINATION

BY MR. MCLELLAND:

Q Good afternoon, Ms. White. I've just got a couple of

questions as well, and then I'm sure Mr. Adams and the
Plaintiffs will have a couple of follow-ups.

What's your understanding of the lawsuit that you're
giving this deposition in?
Explain that, please.
You're giving a deposition today right now, right?
Yes.
And it's in a lawsuit?
Right.
What's your understanding of that lawsuit?

Well, I think I understand it.

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Okay. What is it? I'm just trying to see what's
your understanding of what the lawsuit is, if you could
explain it to me.

A It's trying to set limits on what libraries can do.

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Q Okay.
A And how they do it, and also making it a criminal
offense if we allow an item to a minor that somebody can
object to.
Q Okay. And those parameters are set forth in a
specific Act; is that right?
A Act 372.
Q Act 372; is that correct?
A Yes.
Q And are you aware that Crawford County is involved in

this lawsuit?

A Yes.

Q Are you aware that Crawford County is involved ina
second lawsuit that's titled Virden versus Crawford
County, et al?

A Yes, sir.

Q And in this lawsuit, is it your understanding that
the Plaintiffs are trying to stop Section 1 and Section 5
of Act 372 from going into effect?

A Yes.

Q Okay. Did Crawford County Library System ever
implement Section 5 of Act 372?

A No.

Q Do you recall discussing the Social Section with

Mr. Adams earlier?

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CERTIFICATE

STATE OF ARKANSAS
COUNTY OF FAULKNER
RE: ORAL DEPOSITION OF EVA DOYCE WHITE

I, Michelle R. Satterfield, CCR, a Notary Public in and
for Faulkner County, Arkansas, do hereby certify that the
transcript of the foregoing deposition accurately reflects
the testimony given; and that the foregoing was
transcribed by me, or under my supervision, on my Eclipse
computerized transcription system from my machine
shorthand notes taken at the time and place set out on the
caption hereto, the witness having been duly cautioned and
sworn, or affirmed, to tell the truth, the whole truth and
nothing but the truth.

I FURTHER CERTIFY that I am neither counsel for, related
to, nor employed by any of the parties to the action in
which this proceeding was taken; and, further that I am
not a relative or employee of any attorney or counsel
employed by the parties hereto, nor financially
interested, or otherwise, in the outcome of this action.
In accordance with the Arkansas Rules of Civil Procedure,
Rule 30(e), review of the foregoing transcript by the
witness was not requested by the deponent or any party
thereto.

GIVEN UNDER MY HAND AND SEAL OF OFFICE on this the 4th day
of April 2024.

3s No. 570 &

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epg,

Michelle R. Satterfield, CCR
LS Certificate No. 570
Notary Public in and for
Faulkner County, Arkansas

